                   UNITED STATES DISTRICT COURT
                  EASTERN DISTRICT OF WISCONSIN
________________________________________________________________________


A.R.
                    Plaintiff,


-vs-                                                   Case No: 18-cv-1554


BOARD OF REGENTS OF THE
UNIVERSITY OF WISCONSIN SYSTEM
and MICHAEL BEITZ

                    Defendants.

________________________________________________________________________

                              COMPLAINT
________________________________________________________________________


        NOW COMES the plaintiff by her attorneys FOX & FOX, S.C. and as and

for a complaint against the defendants, Board of Regents of the University of

Wisconsin System and Michael Beitz, states as follows:

                      I.    JURISDICTION AND VENUE

        1.    This is a civil action alleging that defendants deprived plaintiff of

her rights under 20 U.S.C. § 1681 (Title IX) and the Equal Protection Clause of the

Fourteenth Amendment as guaranteed by 42 U.S.C. § 1983.

        2.    This court has subject matter jurisdiction over plaintiff’s claims

under 28 U.S.C. §§ 1331 and 1343.




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       3.     The Eastern District of Wisconsin is a proper venue for this action

under 28 U.S.C. § 1391(b) because a substantial part of the events and omissions

giving rise to plaintiff’s claims occurred in this district.

                                   II.    PARTIES

       4.     Plaintiff, A.R., is an adult resident of the State of Wisconsin

currently residing in Outagamie County. Plaintiff was at all times relevant to this

complaint an undergraduate art student at the University of Wisconsin Oshkosh.

       5.     Defendant Board of Regents of the University of Wisconsin System

(“the Board”) is an institution of higher education and an agency of the State of

Wisconsin, established under Wis. Stat. Ch. 36, with its principal place of business

located at 1220 Linden Drive, Madison, WI 53706. The Board is the governing

body for University of Wisconsin system schools including the University of

Wisconsin Oshkosh. Upon information and belief the Board is a recipient of

federal financial assistance within the meaning of Title IX.

       6.     Defendant Michael Beitz is an adult resident of the State of

Colorado, with a business address of 1085 18th Street, UCB 318, Boulder, CO

80309-0318. At all times relevant to this complaint defendant Beitz was employed

as an Assistant Professor of Art at the University of Wisconsin Oshkosh. All

actions alleged in this complaint to have been taken by defendant Beitz were

taken under color of state law within the meaning of 42 U.S.C. § 1983 and while

carrying out his duties as a public employee and within the scope of his




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employment by the Board. Defendant Beitz is being sued in this matter in his

individual capacity.

                        III.   FACTUAL ALLEGATIONS

       7.     Plaintiff was enrolled as an undergraduate art student at the

University of Wisconsin Oshkosh from fall term 2011 to spring 2014.

       8.     In spring 2014 plaintiff withdrew early because of severe

depression, and deterioration in her physical and mental health caused by a

coerced and emotionally abusive sexual relationship with one of her professors,

defendant Michael Beitz.

       9.     Defendant Beitz was employed as an Assistant Professor of Art at

the University of Wisconsin Oshkosh from fall term 2011 until June 2015.

       10.    Plaintiff was a student in art courses taught by Professor Beitz each

semester from fall 2011 through fall 2013. She also worked as his Sculpture

Studio assistant from March 2012 to June 2102 and from September 2012 to June

2013, as well as his personal assistant.

       11.    Defendant Beitz used his position as a University professor, and

plaintiff’s supervisor to pursue and maintain an unwelcome sexual relationship

with plaintiff in violation of the University’s Consensual Relationships Policy,

GEN 1.2. (7), and Sexual Harassment Policy, GEN 1.2. (6), as well as in violation

of federal law prohibiting sexual harassment.

       12.    In fall semester 2011 when he first began teaching Professor Beitz

went to local bars with students including plaintiff and her boyfriend, to drink


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and sketch. During these outings Beitz was inappropriately affectionate toward

plaintiff, for example, kissing her on the head on one occasion and presenting her

with a framed drawing on her birthday.

       13.     In February 2012 plaintiff confided in Beitz that she was upset

about a break up with her boyfriend and he then invited her to his apartment,

and served her alcohol and had sex with her.

       14.     Professor Beitz carried on a sexual relationship with plaintiff over

the next three years, which over time became unwelcome and created an

intimidating, hostile and abusive employment and educational environment for

plaintiff.

       15.     Professor Beitz was thirteen years older than plaintiff and married.

While Beitz assured plaintiff that he and his wife had an open relationship, he

also made clear that plaintiff was not to tell anyone about their relationship and

to keep it secret.

       16.     Beitz showed favoritism toward plaintiff as compared to other

students and allowed her to work on special projects and in the Sculpture Studio.

       17.     Over the course of their relationship Professor Beitz had sex with

plaintiff numerous times both off and on campus including in the Sculpture

Studio, woodshop and in his office, as well as while on University related trips.

       18.     Beitz shared a room with plaintiff in Michigan when she helped set

up one of his exhibits in March or April 2012. Plaintiff went as Beitz’ personal




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assistant, although she was also his student and sculpture lab assistant at the

time.

        19.   Beitz also arranged for a University sponsored trip to New York

City in December 2012 and selected a small group of students from his Sculpture

I class to attend, which included plaintiff.

        20.   During the trip to New York City another art student to whom

plaintiff had confided her relationship with Beitz, against his wishes, confronted

Beitz about the relationship and he felt threatened.

        21.   The student who confronted Beitz had a complete mental

breakdown while in New York City. Nonetheless, Professor Beitz vilified the

student, even though she was ill, and excluded her from any activities in which

he and plaintiff were involved.

        22.   After the New York City trip the student’s mother sent an email to

the Chair of the Art Department, Gail Panske, complaining about the trip and

Beitz’ inappropriate relationship with plaintiff. In January 2013 a student also

sent Panske an email complaining about Beitz’ relationship with plaintiff.

        23.   Although Panske talked to Beitz about the email from the student’s

mother, she did not take any action to investigate the two complaints or refer

them for investigation, and instead deliberately ignored them.

        24.   Panske did not take any action in her role as department chair to

counsel, warn or discipline Professor Beitz about his inappropriate behavior,




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which clearly violated the consensual relationships and sexual harassment

policies promulgated by the University.

         25.   In January 2013 plaintiff was hospitalized for severe depression

and anxiety caused by the relationship with Professor Beitz. When she was

discharged from the hospital plaintiff tried to distance herself from Beitz.

         26.   Professor Beitz knew plaintiff was emotionally fragile, and used

her vulnerability to manipulate their relationship. He knew early on she was on

anti-depressant medication and, he also knew she was admitted to a psychiatric

hospital in January 2013. Still Beitz continued to carry on a sexual relationship

with plaintiff during spring term 2013.

         27.   In late spring/summer 2013 plaintiff met someone else, became

involved in a serious relationship with him and tried to separate herself from

Beitz.

         28.   Beitz was threatened by plaintiff’s new relationship and directed

unwanted sexual advances and sexual behaviors toward plaintiff that

substantially interfered with her ability to study and to work.

         29.   In September 2013 Beitz asked plaintiff to help him set up one of

his sculptures at the Madison Museum of Contemporary Art. Plaintiff’s old

boyfriend, who had been a student in one of Beitz’ classes, also came to help and

plaintiff assumed that with him included she would be safe from any advances

from Beitz.




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       30.     However, when plaintiff was alone with Beitz he pressured her to

have sex, which was unwelcome, and then panicked and insisted she take the

Plan B pill.

       31.     Plaintiff resisted, explaining she was on birth control and it was

unnecessary. However, the next day Beitz drove plaintiff to Walgreens, bought

her a Plan B and watched her take it in his car. Plaintiff protested, concerned

about the possible side effects of such a serious pill, but Beitz made her take it

anyway.

       32.     In fall 2013 Professor Beitz vandalized an important sculpture of

plaintiff’s---a plaster bust of her head she had completed in a previous sculpture

class, which was stored in the sculpture lab on her project shelf. Beitz drilled

holes in the ears and into the mouth and proceeded to have sexual intercourse

with the plaster bust. He then ejaculated into it. Afterwards he showed plaintiff

the vandalized bust in the Arts & Communications building at the University.

       33.     Before the destruction of her plaster bust Beitz made a drawing of

plaintiff sleeping, ejaculated on the drawing and showed it to plaintiff.

       34.     Plaintiff felt threatened by Beitz behavior, which was intimidating

and degrading.

       35.     Beitz also sexually harassed plaintiff by trying to kiss her in S111 in

the Arts & Communication building and by trying to kiss her in her new

apartment and by telling her he would leave his wife for her. These sexual

advances and comments were unwelcome.


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       36.     In fall 2013 plaintiff was still in classes with Beitz and he displayed

inconsistent behaviors toward her treating her very coldly at times and then

looking depressed and trying to get close to her at other times, for example, by

trying to kiss her in S111 in the Arts & Communication building.

       37.     Plaintiff felt very anxious and unsafe at school. Plaintiff’s anxiety

became so intense she began vomiting in the hours leading up to class and she

stopped going to class altogether in order to avoid Beitz. Plaintiff failed the

semester and became introverted and extremely depressed.

       38.     Plaintiff attempted to return to school in spring 2014, but after

attending classes for approximately two weeks she felt as though she could not

come back again. The Arts & Communication building, as well as Oshkosh in

general, became a constant reminder of her traumatic experiences with Beitz.

During this time plaintiff was suicidal and she withdrew from school and moved

out of the state for her physical and emotional health.

       39.     In March 2014 plaintiff contacted the department chair, Gail

Panske, by email and told her about the inappropriate relationship with

Professor Beitz. Plaintiff also sent the same or similar email to another professor,

Trina Smith.

       40.     Panske subsequently forwarded plaintiff’s statement to Terri

Gohmann, Assistant Dean of Students and Dr. Sharon Kipetz, Assistant Vice

Chancellor and Interim Investigator for Equity and Affirmative Action.




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       41.   Panske also spoke to Beitz and, although he admitted to having a

relationship with plaintiff, no action was taken against him for his blatant

violations of either the University’s Consensual Relationships Policy and or its

Sexual Harassment Policy.

       42.   After contacting Panske plaintiff spent the next couple of months

talking to Dr. Kipetz over the phone, and working up the courage to file a formal

complaint against Professor Beitz.

       43.   On August 4, 2014 plaintiff decided to come back to Oshkosh to

follow through with her complaint, however, when she returned her old

boyfriend, who had been in contact with Beitz, told her she was making a

mistake and convinced her to talk to Beitz, who she had not spoken with for five

months.

       44.   Plaintiff then spoke to Beitz over the phone and after a two-hour

long conversation he had convinced her to retract her complaints with the

University. Afterwards they spoke by phone almost every day.

       45.   During these conversations Beitz told plaintiff that when she

stopped going to school he had smelled her perfume and searched the building

for her. He told her he loved her, but he had to see where things went with his

wife and, if things ended with his wife he would stalk her.

       46.   During these conversations Beitz tried to rationalize his sexual

harassment of plaintiff as his way of supposedly expressing his longing and love

for her.


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         47.   At one point Beitz pressured plaintiff to write Panske a letter

retracting her allegations in order to “clear his name.” Plaintiff had told Panske

the truth about her experiences and she did not feel comfortable with Beitz

asking her to tell Panske that none of it had happened. It made plaintiff

extremely upset.

         48.   In pressuring plaintiff to withdraw her allegations of sexual

harassment defendant Beitz interfered with plaintiff’s exercise of her rights

under Title IX in violation of 34 C.F.R. § 106.71 (incorporating 34 C.F.R. § 100.7(e)

by reference) prohibiting retaliatory acts.

         49.   Dr. Kipetz told Beitz on May 6, 2014, July 2, 2014 and mid-August

2014 not to have any contact with plaintiff, but he ignored her warnings. Still no

disciplinary action was taken against Beitz who continued to intimidate and

harass plaintiff.

         50.   After plaintiff returned to Oshkosh in August 2014 Beitz coerced

sexual conversation with plaintiff including receiving and storing nude photos of

her.

         51.   Plaintiff ended all conversation with Beitz around mid-October

2014 and on or about November 21, 2014 she filed a formal complaint of sexual

harassment with the Office of Equity and Affirmative Action.

         52.   When plaintiff decided to move forward with an official complaint

Beitz used his Tumblr account against her. He put up new social media postings




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and pictures of a sexual nature several of which were labeled “bitch”, which

plaintiff believes were aimed at her, further retaliating against her.

       53.    The University investigated plaintiff’s allegations and on March 11,

2015 issued a report finding that Beitz had violated the University’s Consensual

Relationships Policy, GEN 1.2. (7), and Sexual Harassment Policy, GEN 1.2. (6).

       54.    The University found that Beitz had introduced inappropriate

sexual activities and comments into the work and learning situation, which had

the purpose or effect of substantially interfering with plaintiff’s academic

performance and creating a hostile employment and educational environment.

       55.    The University found that the inappropriate sexual activities and

comments introduced into the work and learning situation by Beitz included:

      Drinking with plaintiff at bars, along with other students, and in spring
       2012, serving her alcohol at his home and having sex with her, when she
       was his student.

      Engaging in sexual activity with plaintiff on campus.

      Drawing a picture of plaintiff sleeping, ejaculating on it and showing it to
       her in fall 2013.

      Reporting to plaintiff in fall 2013 that he drilled holes into the plaster bust
       she had created of herself, performed sexual acts on it and ejaculated.

      Trying to kiss plaintiff in fall 2013 in the Arts & Communication building,
       when it was not welcome.

      Trying to kiss plaintiff in fall 2013 in her new apartment, when it was not
       welcome.

      Demonstrating inconsistent behavior and treatment toward plaintiff in the
       classroom, especially in fall 2013 when plaintiff was trying to separate
       herself from their relationship.


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      Coercing plaintiff in Madison in fall 2013 to have sex with him and to take
       the day after pill.

      Continuing to talk to plaintiff in fall 2014, after being told by University
       officials not to, and by coercing sexual conversation with her, including
       receiving and storing nude photos of her.

      Contacting plaintiff in fall 2014 even when she specifically told Beitz not
       to contact her.

      Telling plaintiff in fall 2014 that after she stopped going to school he had
       smelled her perfume and searched the building for her.

       56.    The University found that although the relationship between Beitz

and plaintiff may have begun as consensual by fall 2013 Beitz’ sexual advances

toward her were clearly unwelcome.

       57.    The University found that Beitz’ behavior caused plaintiff

substantial harm. She felt unsafe and extremely anxious and she stopped

attending classes in order to avoid Beitz. As a result she failed fall semester 2013

and she withdrew from classes spring semester 2014 due to severe depression.

She left the University in debt.

       58.    Although the University found that Beitz had subjected plaintiff to

a sexually hostile environment so severe and pervasive that it deprived her of the

educational opportunities and benefits provided by the school, the defendant

Board of Regents of the University of Wisconsin System took no formal action

against him, but instead allowed him to finish out the semester teaching art.

Beitz then moved on to a new teaching post at the University of Colorado.




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       59.    In failing to take any formal action against Beitz the Board acted

with deliberate indifference to plaintiff’s rights under Title IX.

       60.    Gail Panske, who was Art Department Chair and Beitz’ supervisor

and, thus, in a position to take corrective action, had actual notice of Beitz’

misconduct based on complaints she had received from a student and student

parent in December 2012 and January 2013 regarding his inappropriate sexual

relationship with plaintiff. Plaintiff had also complained to Panske in March 2014

about Beitz’ inappropriate sexual conduct and emotionally abusive behaviors.

       61.    However, Panske and, thus, the Board did not take any effective

action on any of these occasions to address Beitz’ sexual harassment of plaintiff

and, instead, acted with deliberate indifference to it, thereby, causing plaintiff to

undergo further harassment and/or making her liable or vulnerable to it.

       62.    Thus, both the Board and Beitz are liable for the substantial

damages caused by Beitz’ misconduct.

                        IV.    FIRST CAUSE OF ACTION

       63.    For a first cause of action against the defendant Board for sex

discrimination and sexual harassment under Title IX, plaintiff re-alleges each of

the preceding paragraphs as though set forth herein.

       64.    By engaging in the conduct described in the preceding paragraphs,

including but not limited to acting with deliberate indifference to Beitz’ sexual

harassment of plaintiff, which substantially interfered with plaintiff’s academic

and work performance and created a hostile educational and work environment,


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the defendant Board discriminated against plaintiff on the basis of her sex in

violation of her rights under Title IX.

       65.    By engaging in the conduct described in the preceding paragraphs,

including but not limited to acting with deliberate indifference to Beitz’ sexual

harassment of plaintiff, the Board effectively denied plaintiff the opportunity to

participate in or benefit from the school’s educational program.

       66.    The Board’s conduct, as described above, caused plaintiff to suffer

substantial damages, including but not necessarily limited to physical and

psychological injuries, severe emotional distress, loss of earning capacity, and

substantial medical and educational expenses. The plaintiff will continue to

suffer these damages in the future.

       67.    The Board’s conduct, as described above, was willful and malicious

and/or undertaken with intentional or reckless disregard of plaintiff’s federally

protected rights, thereby entitling plaintiff to an award of punitive damages

against the Board.

                        V. SECOND CAUSE OF ACTION

       68.    For a second cause of action against defendant Michael Beitz for sex

discrimination and sexual harassment under the Equal Protection Clause of the

Fourteenth Amendment and 42 U.S.C. § 1983, plaintiff re-alleges each of the

preceding paragraphs as though set forth herein.

       69.    By engaging in the conduct described in the preceding paragraphs,

including but not limited to subjecting plaintiff to unwelcome sexual advances


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and other comments and behaviors of a sexual nature, defendant Beitz created a

hostile and abusive educational and work environment, which substantially

interfered with and/or denied plaintiff the opportunity to participate in or

benefit from the school’s educational program.

       70.      By engaging in the conduct described in the preceding paragraphs

defendant Beitz discriminated against plaintiff on the basis of her sex in violation

of her rights under the Equal Protection Clause of the Fourteenth Amendment

and 42 U.S.C. § 1983.

       71.      Defendant Beitz’ conduct, as described above, caused plaintiff to

suffer substantial damages, including but not necessarily limited to physical and

psychological injuries, severe emotional distress, loss of earning capacity, and

substantial medical and educational expenses. The plaintiff will continue to

suffer these damages in the future.

       72.      Defendant Beitz’ conduct, as described above, was willful and

malicious and/or undertaken with intentional or reckless disregard of plaintiff’s

federally protected rights, thereby entitling plaintiff to an award of punitive

damages against defendant Beitz.

                        VI.    THIRD CAUSE OF ACTION

       73.      For a third cause of action against defendant Beitz for retaliation

under Title IX, plaintiff re-alleges each of the preceding paragraphs as though set

forth herein.




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       74.    By engaging in the conduct described in paragraphs 42 to 52,

above, including but not limited to pressuring plaintiff to withdraw her

complaint of sexual harassment and subjecting plaintiff to ongoing sexual

harassment and intimidation when she refused, defendant Bietz retaliated

against plaintiff for the exercise of her rights under Title IX in violation of Title IX

and its implementing regulations including 34 C.F.R. §§ 106.71 and 100.7(e),

which provide that “No recipient or other person shall intimidate, threaten,

coerce or discriminate against any individual for the purpose of interfering with

any right or privilege secured by [Title IX].”

       75.    Defendant Beitz’ retaliatory conduct, as described above, caused

plaintiff to suffer substantial damages, including but not necessarily limited to

physical and psychological injuries, severe emotional distress, loss of earning

capacity, and substantial medical and educational expenses. The plaintiff will

continue to suffer these damages in the future.

       76.     Defendant Beitz’ retaliatory conduct, as described above, was

willful and malicious and/or undertaken with intentional or reckless disregard

of plaintiff’s federally protected rights, thereby entitling plaintiff to an award of

punitive damages against defendant Beitz.

                      VII.    FOURTH CAUSE OF ACTION

       77.    For a fourth cause of action against the defendant Board for

retaliation under Title IX, plaintiff re-alleges each of the preceding paragraphs as

though set forth herein.


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       78.    The defendant Board was clearly aware of Beitz’ retaliatory

behavior toward plaintiff as described in paragraphs 42 to 52, above, through her

complaints to the Office of Equity and Affirmative Action.

       79.     However, the Board failed to take any effective action to address

Beitz’ retaliation and, instead, acted with deliberate indifference to it, thereby

causing plaintiff to undergo further harassment and/or making her liable or

vulnerable to it.

       80.    Thus, the Board is also responsible for damages to plaintiff caused

by Beitz’ retaliatory behavior including but not necessarily limited to physical

and psychological injuries, severe emotional distress, loss of earning capacity,

and substantial medical and educational expenses. The plaintiff will continue to

suffer these damages in the future.

       81.    The Board’s conduct, as described above, was willful and malicious

and/or undertaken with intentional or reckless disregard of plaintiff’s federally

protected rights to be free from retaliation, thereby entitling plaintiff to an award

of punitive damages against the Board.

                             VIII. JURY DEMAND

       WHEREFORE, the plaintiff demands a trial by jury on all of her claims

and relief as follows:

       A.     Compensation for physical and psychological injuries and

emotional distress;

       B.     Compensation for loss of earning capacity, both past and future;


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      C.     Compensation for medical and educational expenses and other

pecuniary losses;

      D.     Punitive damages;

      E.     A finding of unlawful sex discrimination and sexual harassment in

             violation of federal statutory and constitutional law;

      F.     A finding of unlawful retaliation in violation of Title IX;

      G.     Prejudgment interest;

      F.     Reasonable attorney fees and costs incurred in this action; and

      H.     Any other relief the Court may deem just and proper.

                    Respectfully submitted this 3rd day of October 2018:

                                  FOX & FOX, S.C.

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                                  ______________________________
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